  July 13, 2017

  Via facsimile only
  (920) 437-2868

  George Burnett, Esq.
  Jodi Arndt Labs, Esq.
  Conway, Olejniczak & Jerry S.C.
  231 South Adams Street
  P.O. Box 23200
  Green Bay, WI 54305-3200

          Re:     Fast v. Cash Depot, LTD.

  Dear Counsel:

  Enclosed please find Plaintiff’s Answers and Objections to Defendant’s [Second Set] of Interrogatories
  and Request to Produce Documents. The client signature page is forthcoming.

  We assume that there was a typo with regard to the titling of the Defendant’s discovery requests as we did
  not receive a first or initial set of discovery requests from Defendant. If another set of discovery requests
  was sent to Plaintiff, please advise.

  Thank you.


  Sincerely,
  WALCHESKE & LUZI, LLC

  s/ Kelly L. Temeyer

  Kelly L. Temeyer
  Attorney at Law
  ktemeyer@walcheskeluzi.com




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        BROOKFIELD                                         APPLETON                             BY APPOINTMENT
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                   Case 1:16-cv-01637-WCG FiledFax:
        Fax: (262) 565-6469
                                                  09/01/17       Page 1
                                                     (262) 565-6469
                                                                              of 5 Document   36-6Menomonee Falls
                         UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF WISCONSIN
                                  GREEN BAY DIVISION


TIMOTHY J. FAST,
on behalf of himself and
all others similarly situated,

                        Plaintiff,

        v.                                             Case No. 16-CV-1347

CASH DEPOT LTD.,

                        Defendant.


               PLAINTIFF’S ANSWERS TO DEFENDANT’S [SECOND SET] OF
             INTERROGATORIES AND REQUEST TO PRODUCE DOCUMENTS


                      GENERAL RESERVATIONS AND OBJECTIONS

        1.      These responses are made on the basis of information presently available and

located by Plaintiff, and Plaintiff reserves the right to modify his responses and/or objections with

such additional information as subsequently may be discovered.

        2.      The responses and objections herein are made solely for the purpose of this action.

Each response is subject to all objections as to competence, relevance, materiality, propriety and

admissibility and to any and all other objections on the grounds which would require the exclusion

from evidence of any statement herein, if any interrogatory were asked of, or any statement

contained herein were made by a witness present and testifying in court, all of such objections and

grounds are expressly reserved so that these may be made at trial.

        3.      Plaintiff objects to each of the interrogatories to the extent that they seek

information regarding communications between Plaintiff and his legal counsel on the ground that

such communications are privileged and not subject to discovery. No response is intended to waive



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such privilege, including the inadvertent disclosure of any privileged information which resulted

from Plaintiff’s good faith effort to thoroughly respond to these interrogatories in the required

period of time. Accordingly, Plaintiff reserves the right to recall any privileged information that

was inadvertently disclosed in responding to these Discovery Requests.



                                      INTERROGATORIES

INTERROGATORY NO. 1:                   With regard to the costs incurred or expended to date on your

behalf for the above-referenced litigation, provide a description of each item of costs, the amount

of such cost, indicate whether the cost has been paid, the amount of the payment, and the person

or entity making the payment. Attached to your answer any document corroborating any aspect of

your answer.

ANSWER:        Plaintiff objects to this Interrogatory as overbroad and requesting information

and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.

Subject to and without waiving said objection, as of July 12, 2017, Plaintiff has incurred

approximately $402.35 ($400 for the filing fee paid to the Eastern District of Wisconsin and $2.35

in postage) in costs related to the above-referenced litigation. Because litigation of this matter is

ongoing, Plaintiff reserves the right to amend this response to reflect additional costs, as incurred.

Further, by answering this Interrogatory, Plaintiff has not and does not agree to accept

reimbursement for costs in the amounts stated herein as a form of settlement of his claims against

Defendant.

INTERROGATORY NO. 2:                   With regard to the attorney’s fees incurred or expended to

date in this litigation, (A) describe the total amount of the fees incurred, the nature of each legal

service and/or activity for which any charged was made for legal services, the amount of time

spent on each such legal service and/or activity, the amount of the charged for such legal service

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and/or activity, and state whether payment has been made, and if so, by whom an when; (B) if the

legal charges were based on increments of time, such as an hourly charge describe for each person

providing legal service and/or activity, the amount of the charge, indicate the capacity (i.e.

attorney, paralegal, administration staff, etc.) of the person performing such legal service and/or

activity, describe the qualifications of such person to perform those tasks. Indicate the nature of

the fee agreement between you and your attorneys: this means whether the fee agreement is hourly,

a flat fee, or contingent based on recovery or any other arrangement.

        Attach to your answer, any document corroborating any aspect of your answer.

ANSWER:         Plaintiff objects to this Interrogatory as overbroad, unduly burdensome, not

reasonably calculated to lead to the discovery of admissible evidence, and requesting information

and/or documents protected by the attorney-client privilege and/or attorney work product doctrine.

Subject to and without waiving said objection, as of July 12, 2017, Plaintiff has incurred

approximately $12,931.00 in attorneys’ fees related to the above-referenced litigation. Because

litigation of this matter is ongoing, Plaintiff reserves the right to amend this response to reflect the

additional attorneys’ fees he continues to incur. Further, by answering this Interrogatory, Plaintiff

has not and does not agree to accept reimbursement for his attorneys’ fees in the amount stated

herein as a form of settlement of his claims against Defendant.



        As to objections only,




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    Dated this 13th day of July, 2017.

                                         WALCHESKE & LUZI, LLC
                                         Attorneys for Plaintiff



                                         By: s/ Kelly L. Temeyer
                                             James A. Walcheske, State Bar No. 1065635
                                             Scott S. Luzi, State Bar No. 1067405
                                             Kelly L. Temeyer, State Bar No. 1066294

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